                       Case 1:18-cv-01711-WHP Document 14 Filed 04/25/18 Page 1 of 2
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                        REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                              FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                               ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                    TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                   Southern District of New York                              on the following
      G
      ✔ Trademarks or         G Patents.    (   G   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                        U.S. DISTRICT COURT
    18-cv-01711-WHP                        2/23/2018                                       Southern District of New York
PLAINTIFF                                                                    DEFENDANT
 Tangelo IP, LLC                                                               Hammacher Schlemmer & Company, Inc.



        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 US 8,429,005 B2                          4/23/2013                   Tangelo IP, LLC

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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                         G
                                                     Amendment                  G   Answer          G   Cross Bill   G   Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 See Attached Sheet                                                   See Attached Sheet

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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
 COPY ATTACHED:Notice of Voluntary Dismissal




CLERK                                                        (BY) DEPUTY CLERK                                          DATE
Ruby J. Krajick                                                s/K.Mango                                                       4/25/2018

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy


         Print                        Save As...                                                                                   Reset
         Case 1:18-cv-01711-WHP Document 14 Filed 04/25/18 Page 2 of 2



                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK
TANGELO IP, LLC                                    )
           Plaintiff,                              )
                                                   ) Civil Action No. 1:18-cv-1711-WHP
v.                                                 )
                                                   )
HAMMACHER SCHLEMMER &                              )
 COMPANY, INC.                                     )
          Defendant.                               )
                                                   )

                          NOTICE OF VOLUNTARY DISMISSAL

       Plaintiff Tangelo IP, LLC hereby files this Notice of Voluntary Dismissal pursuant to

Federal Rule of Civil Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1), an action may be

dismissed by the plaintiff without order of court by filing a notice of dismissal at any time before

service by the adverse party of an answer. Accordingly, Plaintiff voluntarily dismisses this

action against Defendant without prejudice pursuant to Rule 41(a)(1).


Dated: April 23, 2018                 STAMOULIS & WEINBLATT LLC

                                      /s/ Stamatios Stamoulis
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